                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                     AT NASHVILLE

  TRACY ANDRIANO,
                                                    )   Docket No. 3:15-CV-0863
       Plaintiff,                                   )
                                                    )
  v.                                                )   JUDGE CRENSHAW
                                                    )
  TYSON FOODS, INC.,                                )   MAGISTRATE JUDGE HOLMES
  TYSON FRESH MEATS, INC.,                          )
  a subsidiary of Tyson Foods, Inc.                 )   JURY DEMAND
                                                    )
       Defendants.                                  )
                                                    )


   PLAINTIFF’S RESPONSE AND MEMORANDUM OF LAW IN OPPOSITION TO
            DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Tracy Andriano brings this action against Tyson Foods, Inc. and Tyson Fresh Meats, Inc.,

a subsidiary of Tyson Foods, Inc. (collectively “Tyson”) alleging violations of Title VII of the

Civil Rights Act of 1964, as amended (“Title VII”), 42 U.S.C. § 2000 et seq and Retaliation in

Violation of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000 et seq. Before

the Court is Tyson’s motion for summary judgment. (D.E. No. 32. )

                                           I. Material Facts

             A. Plaintiff was a skilled and caring nurse at Tyson.

         If anyone embodied Tyson’s motto, “We choose to care,” it was Plaintiff, Ms. Tracy

Andriano. Tyson Fresh Meats, Inc. hired Ms. Andriano, in October 2013, as an Occupational

Health Nurse. (Deposition of Plaintiff Tracy Andriano (“Pltf. Dep.”) at 29:15-16.) Ms. Andriano

was a skilled and caring nurse. She was well educated and trained, having both an associate’s

degree in applied science and a bachelor’s degree in nursing. (Pltf. Dep. at 16: 1-2; 19: 11-13;

Deposition of Audrey Cooper (“Cooper Dep.”) at 17: 6-16.) Ms. Andriano treated injuries that

                                           Page 1 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 1 of 25 PageID #: 363
sustained by Tyson employees, and collaborated with other health, safety, production, and human

resource team members in a comprehensive approach to the team members' health.” (Pltf. Dep.

at 30: 14-16.) Ms. Andriano worked the “B-shift” from 4:00 p.m. to 2:00 a.m. (Id. at 29: 17-19,

31:12-21.) Her starting pay was $28.50 an hour, but after 90 days on the job, she received a pay

increase to $31.00 an hour. During her employment, Ms. Andriano never had any disciplinary

issues and had been praised for her work and helping with others’ work. (Pltf. Dep. at 199: 22-

24.) Until immediately before her termination on May 6, 2014, she received no disciplinary

actions. (Pltf. Dep. at 40:6-16.) Ms. Andriano remembers always getting compliments and “thank-

yous.” Other employees and supervisors thanked her for pulling charts for the dayshift nurses,

stocking the cabinets, or calibrating the hearing test machine. (Pltf. Dep. at 200: 16-21; Exhibit

1, Andriano 0038; 0042; 0047; 0055; 0078.)

           B. The Tyson norm: hostility and harassment based on gender.

        Tyson treated men with more respect than women. Tyson treated women as inferior to

men and did not discipline men, one female employee of Tyson, former B-Shift Supervisor, Ms.

Cayman Carroll, a Line Supervisor, recalls. (Affidavit of Cayman Carroll (“Carroll Aff.) ¶ 21.)

Ms. Carroll testified that women had to “keep our heads down and not say too much or volunteer

information” because make supervisors ignored outspoken women. (Carroll Aff. ¶ 22; Deposition

of Cayman Carroll “Carroll Dep.) at 16: 7-16.) Male managers would not address any problems

presented by women at Tyson. Tyson either ignored women’s concerns or did not take the concerns

seriously. However, “if a man had proposed a new change or something to happen, it seemed like

it was listened to a lot more …than if a women had proposed it.” Tyson listened to men’s concerns,

but women “were more ‘keep your head down, do what you’re told’ kind of thinking.” (Carroll

Dep. at 65: 5-12; 56: 7-12; 56: 7-12; Carroll Aff. ¶ 23.) Once, Ms. Carroll requested additional



                                          Page 2 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 2 of 25 PageID #: 364
translators, since most of the employees whom she supervised spoke other languages, “to be

available” to her so that she could communicate with the twenty plus employees on her line. She

made the request to Tyson General Supervisor, James Ewing. Instead of interpreters, Ms. Carroll

received a disciplinary action in the form of a “Performance Improvement Plan.” (Carroll Dep. at

23:21-25; 24: 1-5; 25:1-5.) Ms. Andriano had a similar experience on March 26, 2014, when she

twice requested an interpreter so that she could appropriately assess an employee’s injury. Instead,

Ewing burst into the nurses’ office and demanded the employee return to the floor, unassessed.

(Exhibit 2, Andriano 0049.) Again, on April 9, 2014, Ms. Andriano needed an interpreter to assess

an injured employee who spoke Arabic. Ewing came into the nurses’ office and removed the

interpreter, saying, “it’s beef’s problem. Let those Ass Monkeys get an interpreter.” (Exhibit 3,

Andriano 0059.) If a man had requested a translator, Tyson would have provided one. (Carroll

Dep. at 65: 21-24; 26: 1.)

       Tyson employees expected sexual harassment, and Tyson management tolerated sexual

harassment. In general, in the past five years, Audrey Cooper, the B Shift Human Resources

Manager, recalls team members reporting that they were touched, looked at, and been the subject

of inappropriate comments. “We get those [complaints], especially in [the past] five years.”

(Cooper Dep. at 14: 1-14.) Ms. Andriano was the victim of one such inappropriate comment in

November 2013, when Ms. Andriano attended a meeting with plant personnel to investigate an

employee injury. (Pltf. Dep. at 41: 6-11; 42:24-43:1; Exhibit 4 Andriano 0033-0034.) Ms.

Andriano was the only female in attendance. During the meeting, Supervisor Ewing made a

comment of a sexual nature to Ms. Andriano. Ewing told her that he wanted to “see how far I can

get with you.” (D.E. 1, Complaint ¶¶ 13, 14; Exhibit 4 Andriano 0033-0034; Pltf. Dep. at 46:16-

21.) This comment offended and upset Ms. Andriano. She felt scared because she “was the only



                                           Page 3 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 3 of 25 PageID #: 365
female in the room at night with a bunch of men.” (Pltf. Dep. at 47: 12-18.) Steve Ligon, B-Shift

Operations Manager, intervened and instructed Ewing to “stop that right now.” (Pltf. Dep. at

47:20-25; Deposition of Steve Ligon (“Ligon Dep.”) at 13:6-8.) Ms. Andriano told her

supervisor, Simona Thomas, the very next day. She told Thomas that the incident made her afraid.

(Pltf. Dep. at 53: 1-25.) However, Tyson did not terminate James Ewing; they retrained him on

Tyson’s Harassment and Discrimination policy. (Cooper Dep. at 33:14-16.) Ironically, Ewing

was one of the first responders when Ms. Andriano endured an attempted sexual assault by a

male employee: Driton Gashi.

           C. Tyson protects its own: Driton Gashi.

       Tyson employed Driton Gashi as an hourly employee in the Material Handling

Department (Deposition of Steve Voller (“Voller Dep.” At 14:5-7; 21:13-18.) Gashi was Tyson’s

“problem child” whom Tyson never had the nerve to kick out of the house. He was the brother

of a Supervisor, Jetton Gashi, and brother-in-law of an A-shift General Manager, Valon Arifi.

(D.E. 1 Complaint ¶ 9.) Gashi was the subject of at least one sexual harassment complaint before

Ms. Andriano’s employment at Tyson. (Cooper Dep. at 14:18-25; 15:1-1.) Gashi seemed to enjoy

sexually harassing women. Ms. Carroll remembers Gashi well, as she and Gashi’s paths crossed

several times a day. Ms. Carroll could see Gashi as she supervised her line. (Carroll Dep. 60: 20-

25.) He went out of his way to be near women and “would stare at different women throughout

the day.” (Carroll Aff. ¶ 7.) He would gaze at women for five to ten minutes, and then return to

the same location and stare again. (Carroll Aff. ¶ 8; Carroll Dep. at 61: 6-20.) He particularly

gaped at American women. (Carroll Dep. at 61: 3-5.) Many women, including Ms. Carroll, felt

uncomfortable around Gashi. “I avoided him as much as possible,” Ms. Carroll remembers. “The

way he would talk to me, the way his eyes would kind of roam on me, not look at my



                                           Page 4 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 4 of 25 PageID #: 366
face…seemed to be looking more at the body;” which made her uncomfortable. (Carroll Dep. at

62: 5-19; 63: 4-5; Carroll Aff. ¶ 9.) Gashi sometimes made a point to stand so close to Ms. Carroll

that she could smell his breath. (Carroll Dep. at 62: 20-22.)

       There was one woman whom Gashi took a special interest in: Plaintiff Tracy Andriano.

Gashi began to prey upon Ms. Andriano soon after she began working at Tyson. He frequently

stared at Ms. Andriano in the hallway. (Carroll Dep. at 47: 16-18; Pltf. Dep. at 72:12-21; Ms.

Carroll Aff. 10.) Tyson ignored Gashi’s gawking. Gashi grew bolder. He began going out of his

way to see her at the Health Services Office. Ms. Carroll remembers seeing Gashi “hanging out”

at the nurses’ station “quite a few times” and thought this was “unsettling.” (Carroll Dep. at 44:1-

11; Pltf. Dep. at 56: 15-25.) He began bringing Ms. Andriano candy, which, at first, she first

thought was nice. But when he began to bring her candy “almost every day,” she became upset.

(Carroll Dep. at 41: 7-13.) Ms. Andriano soon determined that Gashi’s behavior was “creepy,”

and she felt uncomfortable. (Carroll Dep. at 47: 16-18.)

       Although Ms. Andriano asked Gashi to stop bringing her candy, he did not. In fact,

Gashi’s behavior toward Ms. Andriano became increasingly bold. He began asking her to dinner.

He was “always asking me to dinner and giving her compliments that were “too much,” “creepy,”

and “uncomfortable.” (Pltf. Dep. at 58:3-5; Exhibit 5, Tyson 0070.) Each time he made her

uncomfortable, she asked him to stop. (Pltf. Dep. at 59: 20-25; 57: 17-25; 58: 1-25; 73: 10-14.)

           D. Andriano reported the harassment, but Tyson chose not to care.

       Ms. Andriano told several Tyson employees about her disturbing contacts with Gashi.

She told line Supervisor, Ms. Carroll. Ms. Andriano and Ms. Carroll spoke about Gashi on several

occasions, especially when “we would see him gawking at us…standing in the middle of the

hallway, staring at us.” (Pltf. Dep. at 65: 1-17.) Plaintiff also reported Gashi’s behavior to



                                            Page 5 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 5 of 25 PageID #: 367
Supervisor Jetton Gashi, Driton Gashi’s brother. She informed him in an angry and stern way

that “his brother needs to leave me alone.” She told him at least twice. (Pltf. Dep. at 71: 8-19; 72:

1-5.)

        Ms. Andriano reported Gashi’s behavior to her direct supervisor, Simona Thomas. Ms.

Ms. Andriano told Thomas that Gashi was stopping be health services too often and asking her

to dinner. (Pltf. Dep. at 60:7-13; 61: 9-25; Carroll Dep. at 42: 4-11.) However, Thomas dismissed

Ms. Andriano’s concerns, replying with words to the effect of “he’s harmless,” and “the area is

safe.” (Pltf. Dep. at 62:22-25).

        Ms. Andriano did not report Gashi’s behavior to Human Resources “HR”. She did not

have to. Ms. Andriano felt most comfortable telling her direct supervisor, with whom she spoke

on a daily basis after her shift, about Gashi. (Pltf. Dep. at 63: 7-8.) Tyson did not require that Ms.

Andriano to report the incident to HR. As Audrey Cooper, HR Supervisor, noted, “She can

contact her supervisor, she can contact HR, or she can contact any member of management.” Ms.

Andriano had choices. (Cooper Dep. at 22: 1-12.) Ms. Andriano chose to report the harassment

to Thomas.

             E. Gashi’s “somewhat believable” attempted assault on Ms. Andriano.

        By February of 2014, the undisciplined Gashi became more aggressive toward Ms.

Andriano---physically aggressive. He began grabbing her hand when he stopped by the nurses’

office to give her candy. (Pltf. Dep. at 74: 1-24.) Gashi also began asking her on dates. (Pltf. Dep.

at 78: 9-12.) It was around that time that Gashi began to make sexually suggestive noises at her,

noises that a man would make when he is “hitting on you,” for instance, “kissy noises.” (Pltf.

Dep. at 80: 11-16; 80: 23.) He did that often beginning in February of 2014. Plaintiff asked him

to stop. Plaintiff also reported these incidences to Thomas. (Pltf. Dep. at 74: 1-24; Pltf. Dep. at



                                             Page 6 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 6 of 25 PageID #: 368
81: 5-25.) She told Thomas that Gashi was “still bothering her.” (Pltf. Dep. at 83: 21-22.) Plaintiff

trusted Thomas to handle the situation, since Thomas was Plaintiff’s manager, and had previously

told her not to go to HR. (Pltf. Dep. at 83:13-15.)

        On April 10, 2014, Gashi’s sexual aggression became out of control. An incident occurred

close to the end of Plaintiff’s shift when Plaintiff was alone. Gashi came to Ms. Andriano’s office

and put candy on the table. He proceeded to ask her, “Are you alone?” She asked him, “Why?”

(Pltf. Dep. 84-1-25.) When she reached to the table to remove the candy, he grabbed her hand

and “wouldn’t let go.” Ms. Andriano recalls,

   1    …he started
   2    pulling my arm towards him. And then he proceeded to
   3    come around the desk, around my desk. And I got up, an
   4    I started walking, and he started walking towards me.
   5    And I started running, and he was running after me. I
   6    mean, heck do I know if he's going to rape me on one of
   7    the exam tables.
   8     I ran right out the back door because
   9    that one locks by itself, and he followed me through the
  10    back door. I ran right around the corner, back in
   11   through the front, and locked the door.

        (Pltf. Dep. at 85: 1-11.) Ms. Andriano locked herself in her office, but Gashi tried to open

the door. (Pltf. Dep. at 85: 20-23.) In a panicked state of mind, Ms. Andriano picked up the radio

and announced over the radio to the supervisors that she locked the door “for security reasons.”

(Pltf. Dep. at 95: 17-25; 86: 6-9.) Ironically, it was James Ewing, the Supervisor who had

previously told her “he wanted to see how far he could get” with her, who came to her office to

see what was the matter. (Pltf. Dep. at 87: 1-3.) Soon after that, several others arrived including

Ms. Carroll. (Pltf. Dep. at 87: 5-20.) Ms. Andriano informed all of them that Gashi had chased

her and that she was keeping the doors locked because she was alone. She was crying. (Pltf. Dep.

at 88: 10-23.) One employee, Andy Bell, offered to begin walking her to her car every night so



                                            Page 7 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 7 of 25 PageID #: 369
that she would not have to be alone. (Pltf. Dep. at 89: 15-22.) Ms. Carroll recalls that Ms.

Andriano was “rattled” and upset by the situation. (Carroll Dep. at 67: 2-10.) Ms. Andriano asked

Ms. Carroll to walk around with her so that she would not be alone if Gashi approached her.

(Carroll Aff. ¶ 14.) Ms. Andriano told Ms. Carroll that she felt unsafe. (Carroll Dep. at 33:13-

23.)

          The night of the attempted assault, Ms. Andriano left a message for Thomas. (Pltf. Dep.

90:1-12.) The following day, when she reported Gashi’s behavior and the incident to Thomas in

person, Thomas stated, “we can’t go to HR.” Thomas stated that she planned to contact Gashi’s

supervisor and report that Gashi was “coming to talk” to Ms. Andriano too much “because we

can’t report it as harassment.” (Pltf. Dep. at 99: 1-1.3.) Thomas proceeded to email Steve

Voller, who was the General Supervisor over Gashi’s department on April 11, 2014, stating:

      1    … Steve, it has been
      2   brought to my attention that Driton Gashi has been
      3   stopping by health services to visit almost every night
      4   at the end of his shift. He has not had a
      5   medical issue or question, just to chat. This takes up
      6   time that my nurses should be completing their work. I
      7   have spoken with the B-shift nurses and informed them
      8   extended visits, chat sessions with team members, or
  9       TMs, supervisors that is not medical-related is
  10      unacceptable. I am asking that you express to Driton
  11      that, from my standpoint, I find it unacceptable and
  12      request that he refrains from socializing in health
  13      services. If he has a medical question, concern, or any
  14      medical assistance, then, by all means, please come to
           health services.

(Pltf. Dep. at 102:2-25.; Exhibit 6, Andriano 0060; Voller Dep. at 14:3-7, 21:13-18.) Ms. Andriano

disagreed with Thomas’s email because what Thomas described is not what she had reported to

Thomas. (Pltf. Dep. at 102: 20-25; 103: 1-7.)

          The following day, Friday, April 11, Gashi stopped outside of the window of Ms.



                                             Page 8 of 25

      Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 8 of 25 PageID #: 370
Andriano’s office and made obscene gestures. He stuck his tongue out repeatedly. (Pltf. Dep. at

105: 10-21.) The following day she reported to Thomas that Gashi was making obscene motions

with his tongue. (Pltf. Dep. at 108: 1-9.) On Monday, April 14, Voller came into the nurses’ office

and apologized to Plaintiff. (Pltf. Dep. at 108: 12-25.) He stated that he had seen the video of

Gashi’s behavior on Friday, April 11, 2014, and that he was displeased by Tyson’s handling of the

situation. (Pltf. Dep. at 109: 1-6.) He informed her that Gashi had “past incidents” in which Tyson

had taken no action regarding Gashi. Voller reported the incident to HR on Monday, April 14.

       Upon his report, Audrey Cooper began to investigate the incident and requested that she

write a statement regarding the incident. When Cooper requested the statement, Ms. Andriano

informed Cooper about the obscene faces at the window. (Pltf. Dep. at 113:1-24.) Thomas told

Ms. Andriano that “I feel bad, I do, but you brought this on yourself. You went to HR.” (Pltf. Dep.

at 174: 23-25; 175: 1-4.) Later, Cooper came to pick up the statement, which read, “Please be

advised on the situation that occurred between myself and Driton Gashi…On Thursday night,

April 10th, 2014.” Ms. Andriano explained in detail that “Gashi was making unwanted,

uncomfortable, and inappropriate comments to me. He informed me that he knew I was here alone

…and proceeded to approach me and tried to grab my hand while asking me to dinner. He then

placed candy on the counter and asked me ‘what I was going to give him’ in return. The next

evening he walked past OHS and stopped in the front door window. Proceeded to move his tongue

in a sexually suggestive way that was creepy. I then locked the door and advised supervisors in the

plant to either radio me or knock on the door for medical issues in fear of being alone.” (Plaintiff

Dep. at 117: 1-21; Cooper Dep. at 40: 2-22.) Plaintiff wrote a statement to this effect on April 14,

2014. (Exhibit 7, Andriano 0064.)

       Despite having all of these details at her disposal, when Cooper made notes during the



                                           Page 9 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 9 of 25 PageID #: 371
investigation, she did not include the details. Cooper only noted that Ms. Andriano was

“uncomfortable” by the way Gashi “looked at her.” (Pltf. Dep. at 41: 9-23.) Cooper also noted that

Ms. Andriano’s statement,--the statement of a well-trained, educated, nurse and employee with a

spotless disciplinary record--was only “somewhat” believable in comparison to the statement of a

known sexual predator, Driton Gashi. (Cooper Dep. at 42: 1-25; Exhibit 8, Tyson 0067.) In her

deposition, Cooper rationalized, “We could not substantiate her claim, and I think her claim was

that he made a sexual gesture, and I think she said that he asked her out. And we could not

substantiate that that happened. He said that he asked her and her entire family out to dinner.”

Tyson’s responded to the multiple complaints and documented incidences that took place between

Gashi and Ms. Andriano by insisting that Tyson retrain both Ms. Andriano and Gashi on Tyson’s

Sexual Harassment and Discrimination Policy. Tyson administered the same response to both

predator and the victim. (Cooper Dep. at 35: 5-10.)

       On May 6, 2014, a conference took place between Ms. Andriano, Thomas, and Cooper.

Ms. Andriano thought the subject for discussion was an incident involving an employee’s wrist

injury. (Pltf. Dep. at 158:3-9.) Soon, Ms. Andriano realized the meeting concerned the sexual

harassment complaints. Ms. Andriano believed she was about to be terminated. She felt cornered.

(Pltf. Dep. at 180: 9-10.) She took her phone out of her pocket and stated she wanted to record

the conversation. (Cooper Dep. at 56:14.) Ms. Andriano informed Cooper that she did not felt

like her supervisor was “doing enough for her, or that she wasn’t there for her, and that her

supervisor did not help with her complaint.” (Pltf. Dep. at 167:11-14; Cooper Dep. at 52:13-53:2,

64:1-5; Cooper Dep. at 56:18-20.) Cooper and Thomas reprimanded her for using the radio to

call for help the night of Gashi’s attempted assault, and for locking the door when she felt unsafe.

(Pltf. Dep. at 161: 12-22.) Thomas also reprimanded Ms. Andriano for using the radio. She stated



                                           Page 10 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 10 of 25 PageID #: 372
that Ms. Andriano should have called the security desk instead. (Pltf. Dep. at 96: 4-20.) “I started

crying. I wanted to leave. They said, if you leave, that means you quit. Are you quitting?” (Pltf.

Dep. at 159: 5-7.) She wanted to go home. (Cooper Dep. at 56: 21-23.) “She wanted to go home.

She wanted to go home. She asked to go home.” (Cooper Dep. at 63: 8-10.) She also wanted to

call her husband. (Cooper Dep. at 58 15-17.) She also stated she wanted to call the Call Tyson

First Helpline. Cooper thought that was inappropriate for her to have her phone out, and was a

reason to discipline an employee. (Cooper Dep. at 61: 14-24.) Instead of allowing her to call the

help line, tape the conversation, call her husband or go home, Cooper kept her in the room. Ms.

Andriano felt like she was being “picked apart” when she had never had any issues previously.”

(Pltf. Dep. at 199: 20-24.) At that point, Cooper decided to implement the “open door policy”

and bring yet another individual into the room, Gary Denton, Complex Human Resources

Manager, to “talk about it.” (Cooper Dep. at 57:6-19.) Cooper explained that “every member can

call the helpline…but what we try to tell team members is that those helpline calls filter back to

the plant. So we’re still going to do the investigation. So just talk to us, see what is going on.”

(Cooper Dep at 57: 11-16.) Cooper told Ms. Andriano that even if she called the helpline, the

complaint is going to come back to Cooper at the HR department to handle. (Cooper Dep. at 58:

1-4.) Denton told her, however, “No, you’re not [going to call the helpline]. That’s not for you.

That’s just for the team members on the floor. That’s not for you.” (Pltf. Dep. at 159: 13-16.)

After the meeting, Cooper requested that both Thomas and Plaintiff provide written statements.

(Cooper Dep. at 64:5-9; Pltf. Dep. at 169:4-10.) Ms. Andriano was so upset that she left. “She

walked out that night and left.” (Cooper Dep. at 74: 12-13.)

         The following day, May 7, 2014, Ms. Andriano documented both the hostile work

 environment and sexual harassment in an email to Thomas, Denton, Rowen, and Cooper



                                           Page 11 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 11 of 25 PageID #: 373
 detailing the harassment and the change in the work environment since April, when she

 complained about the harassment. At that point, Ms. Andriano did not feel like she could go

 back Tyson, a place that she “didn’t feel safe, so she had no choice but to resign. (Pltf. Dep. at

 199: 6-13.)

       Ms. Andriano called the helpline on May 8, 2014. (Cooper Dep. at 69: 20-24.) On May

10, 2014, two days after Ms. Andriano called the help line, an employment action was issued by

Tyson stating that Ms. Andriano’s employment action was listed as “terminated” as the

transaction type. (Cooper Dep. at 71: 2-12; Exhibit 9, Tyson 0385.)

           F. Tyson retrained Gashi and allowed him to continue to harass women.

       Ms. Carroll noticed that Tyson terminated Ms. Andriano’s “very quickly” after that near

assault incident with Gashi. Gashi, on the other hand, remained at Tyson, where he enjoyed his

view. He was still staring at women. Ms. Carroll still felt uncomfortable around him. Other

women seemed to feel uncomfortable as well: “Women still avoided him. We walked down a

different hallway if we knew he was coming.” (Carroll Dep. at 68: 14-25; 69: 1-8.) Tyson both

retained and retrained Gashi, despite previous complaints, other than Ms. Andriano’s, filed

concerning sexual harassment in the workplace. (Cooper Dep. at 13: 12-16.) In general, Cooper

recalls team members reporting that they were touched, looked at, and been the subject of

inappropriate comments. “We get those [complaints], especially in [the past] five years.” (Cooper

Dep. at 14: 1-14.) Cooper remembers that Gashi was involved in one other sexual harassment

complaint, brought by a female officer who was working at the front desk. (Cooper Dep. 14: 18-

25; 15: 1-1.) After Ms. Andriano’s complaint and investigation, Gashi was “retrained” but not

disciplined. (Cooper Dep. at 35: 12.) Meanwhile, Ms. Andriano placed two phone calls to the




                                          Page 12 of 25

  Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 12 of 25 PageID #: 374
Call Tyson First Helpline, one on May 8, 2014, and another on May 15, 2014. Tyson returned

neither. (Exhibit 10, Tyson 382.)

       When Tyson chose to retain, “retrain,” and protect employees who repeatedly sexually

harassed women and shield upper management employees who tolerated the sexual harassment,

Tyson lost a skilled and caring nurse who, as the record makes abundantly clear, genuinely cared

about her Team Members. Ms. Andriano chose to care. She did not want to be the type of nurse

that “only care about money,” because she cared more about her Team Members. (Exhibit 11,

Tyson 0216.) Ironically, the footer of almost each Tyson email states, “We choose to care.”

(Exhibit 12, Andriano 0043; 0052; 0056; 0061; 0066; 0068; 0071; 0074; 0079.)

       Nothing could be farther from the truth.

                                    II.   LEGAL STANDARD

       Defendant as moving party has the initial burden of showing this Court, by reference to the

record, the basis for its motion. Celotex Corp. v. Catrett, 477 U.S. 317 (1986). When the non-

moving party has the burden of proof at trial, the movant must carry the initial burden in one of

two ways; either by negating an essential element of the non-movant’s case or by showing that

there exists no such evidence to support a fact necessary to the non-movant’s case. Clark v. Coats

& Clark, Inc., 929 F.2d 604, 606-608 (11th Cir. 1991). Before the Court can evaluate the Plaintiff’s

opposition to the motion, it must first determine whether the Defendant has met its initial burden

of showing that there are no issues of material fact and that Defendant is entitled to judgment as a

matter of law. Jones v. City of Columbus, 120 F3d 248, 254 (11th Cir. 1997)(per curiam); Rodgers

v. Banks, 344 F3d 587, 595 (6th Cir. 2003).

        In reviewing a motion for summary judgment, this Court will only consider the narrow

 question of whether there are “genuine issues as to any material fact and [whether] the moving



                                          Page 13 of 25

  Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 13 of 25 PageID #: 375
 party is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(c.) The Court is required to

 view "the facts and reasonable inferences in the light most favorable to the nonmoving party . .

 . ." Ferrari v. Ford Motor Co., 826 F.3d 885, 891 (6th Cir. 2016) (citing Cass v. City of Dayton,

 770 F.3d 368, 373 (6th Cir. 2014.)

       In the case sub judis, Defendant cannot meet, nor has it met its initial burden that no issue

of genuine fact exists, no less that the burden should shift to Plaintiff. Therefore, Defendant’s

motion for summary judgment should be dismissed.

                                  III.    LAW AND ARGUMENT

       A.      Defendant Has Failed to Demonstrate that No Material Facts are in Dispute.

       In order for Ms. Andriano to maintain a prima facie case for sexual harassment, she must

show that (1) she is a member of a protected class; (2) she was subject to unwelcome harassment;

(3) the harassment was based on her status as a member of a protected class; (4) the harassment

affected at term, condition, or privilege of employment; and (5) there is some basis for liability on

the part of the employer. Ellsworth v. Pot Luck Enters., 624 F.Supp.2d 868, 875-876, (M.D. Tenn.

2009); Gallagher v. C.H. Robinson Worldwide, Inc., 567 F.3d 263, 270, (6th Cir. 2009).

       Defendant’s argument that Plaintiff’s claims fail as a matter of law. Plaintiff’s Response

to Defendant’s Statement of Undisputed Facts and Plaintiff’s Statement of Additional Material

facts demonstrate disputed issues of facts which are material.

       B.      Tyson Subjected Plaintiff to Sexual Harassment under Title VII

         Defendant accurately points out that tp prove a claim of hostile work environment by a

 coworker, Ms. Andriano must show by a preponderance of the evidence that: (1) she is a member

 of a protected group; (2) she was subjected to unwelcome harassment; (3) the harassment was

 based on sex; (4) the harassment was sufficiently severe or pervasive to alter the conditions of



                                           Page 14 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 14 of 25 PageID #: 376
employment and create an abusive working environment; and (5) the employer is liable for the

harassment because it knew or should have known of the harassment and unreasonably failed to

take prompt remedial action. Waldo v. Consumers En ergy Co., 726 F.3d 802, 813 (6th Cir.

2013) (citing Williams v. CSX Transp. Co., 643 F.3d 502, 511 (6th Cir. 2011)); see also Fenton

v. HiSAN, Inc., 174 F.3d 827, 829-30 (6th Cir. 1999).

               1) Tyson subjected Ms. Andriano to unwelcome harassment based on sex.

       Defendant attempts to segment and analyze each instance of harassment in Andriano’s

claim and argues that each, on its own, taken without the others, was not severe or pervasive

enough to meet the abusive working environment standard. This line of thinking is without

merit. The court, as would the trier of fact, must consider the totality of the circumstances. In

this case, Ewing, who was a supervisor and should demonstrate and exemplify a higher ethical

standard of behavior, told Ms. Andriano that he wanted to “see how far I can get with you.”

(D.E. 1, Complaint ¶¶ 13, 14; Exhibit 4 Andriano 0033-0034; Pltf. Dep. at 46:16-21.) This

comment offended and upset Ms. Andriano. Gashi’s numerous incidents of sexual harassment,

all of which made Ms. Andriano uncomfortable: bringing her candy, asking her to dinner,

touching her, making sexual noises, making sexual facial expressions, and a near violent sexual

assault that made her afraid. Those facts speak for themselves, and should be presented to a trier

of fact for further analysis. (Pltf. Dep. at 74: 1-24; Pltf. Dep. 84-1-25; Pltf. Dep. at 85: 1-11;

Pltf. Dep. at 85: 20-23; Pltf. Dep. at 105: 10-21.)

               2) Plaintiff has provided ample facts that demonstrate that Tyson knew or
                  should have known of the charged sexual harassment.

       Defendant attempts to argue that simply because Ewing and Gashi were not Ms.

Andriano’s supervisor, she cannot demonstrate Tyson’s liability per Waldo, 726 F.3d 802, 813

fn. 2 (citing omitted); Williams v. General Motors Corp., 187 F.3d 553, 561 (6th Cir. 1999)


                                          Page 15 of 25

 Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 15 of 25 PageID #: 377
(plaintiff must show that employer “knew or should have known of the charged sexual

harassment and failed to implement prompt and appropriate corrective action.”). However,

Tyson was well aware. Ms. Andriano told several Tyson employees in supervisory roles about

her disturbing contacts with Gashi. She told line Supervisor, Ms. Carroll. (Pltf. Dep. at 65: 1-

17.) Plaintiff also reported Gashi’s behavior to Supervisor Jetton Gashi, Driton Gashi’s brother,

at least twice. (Pltf. Dep. at 71: 8-19; 72: 1-5.) Ms. Andriano reported Gashi’s behavior to her

direct supervisor, Simona Thomas. (Pltf. Dep. at 60:7-13; 61: 9-25; Carroll Dep. at 42: 4-11.)

However, Thomas dismissed Ms. Andriano’s concerns, replying with words to the effect of

“he’s harmless,” and “the area is safe.” (Pltf. Dep. at 62:22-25). As stated, supra, Tyson did not

require Ms. Andriano to report Gashi’s behavior to HR. Ms. Andriano felt most comfortable

telling her direct supervisor. (Pltf. Dep. at 63: 7-8.) By February of 2014, when Gashi became

more aggressive, by grabbing her hand, asking her on dates, and making sexually suggestive

noises, Plaintiff also reported these incidences to Thomas. (Pltf. Dep. at 74: 1-24; Pltf. Dep. at

81: 5-25.) She told Thomas that Gashi was “still bothering her.” (Pltf. Dep. at 83: 21-22.) On

Friday, April 11, Gashi when Gashi made obscene gestures at the window, Plaintiff did not have

to tell anyone, because it was video recorded, but she still reported it. (Pltf. Dep. at 105: 10-21.)

(Pltf. Dep. at 108: 1-9.) (Pltf. Dep. at 108: 12-25.) Voller even stated that he had seen the video

of Gashi’s behavior on Friday, April 11, 2014, and that he was displeased by Tyson’s handling

of the situation. (Pltf. Dep. at 109: 1-6.) Voller informed her that Gashi had “past incidents” in

which Tyson had taken no action regarding Gashi. Voller reported the incident to HR on

Monday, April 14. (Pltf. Dep. 109: 13-17.)

               3) Tyson failed to implement prompt and appropriate corrective action.




                                           Page 16 of 25

 Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 16 of 25 PageID #: 378
       Plaintiff has also provided ample facts that demonstrate that Tyson failed to implement

prompt and appropriate corrective action. Tyson, in general, had a sexual harassment problem.

Cooper recalls team members reporting that they were touched, looked at, and been the subject

of inappropriate comments. “We get those [complaints], especially in [the past] five years.”

(Cooper Dep. at 14: 1-14.) Tyson, in general, had a “Gashi” problem. However, Tyson retained

and retrained Gashi, rather than terminating or more harshly disciplining him. (Cooper Dep. at

13: 12-16; Cooper Aff. 14: 18-25; 15: 1-1.) Even after Ms. Andriano’s complaint, which included

the obscene facial expressions, Gashi was “retrained” but not disciplined. (Cooper Dep. at 35:

12.) After the videotaped incident, Voller informed Ms. Andriano that Gashi had “past incidents”

in which Tyson had taken no action regarding Gashi. Voller reported the incident to HR on

Monday, April 14. (Pltf. Dep. 109: 13-17.) Meanwhile, Ms. Andriano placed two phone calls to

the Call Tyson First Helpline, one on May 8, 2014, and another on May 15, 2014. Tyson returned

neither one. (Exhibit 10, Andriano 0034.) Whether Tyson’s response to reports of sexual

harassment was prompt and remedial, if Tyson responded at all, is an issue of material fact that

should be presented to a jury. A jury could reasonably conclude that not returning a helpline call

is not a prompt remedial action. A jury could conclude that a complaint to the helpline, which in

turn was rerouted back to the individuals at Tyson who were the subject of the complaint, is not

timely or remedial. Finally, Ms. Andriano argues that Tyson’s decision to retrain Gashi and her

was an unequivocally inappropriate response. A reasonable juror could conclude that retraining

the victim on Tyson’s Sexual Harassment Policy is inappropriate.

      C.       Tyson Created a Hostile Work Environment for Plaintiff under Title VII.

       Defendant attempts to minimize Gashi’s harassment of Ms. Anriano, and portrays Gashi

as a polite employee, who delivered candy, shook hands, and stopped in the nurses’ office to visit.

                                          Page 17 of 25

  Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 17 of 25 PageID #: 379
Defendant goes even further boldly to suggest that being the subject of “kissy noises,” requests for

dinner, and unwelcome stares were “isolated incidents” not worthy of Ms. Andriano’s sexual

harassment claim. However, As the Supreme Court has pointed out, no mathematically precise

test can be used to determine whether a work environment is hostile or abusive. Whether a work

environment is hostile or abusive can only be determined by looking at all the circumstances

(emphasis added). Harris v. Forklift Systems, Inc., 510 U.S. 17, 21 (1993). Therefore, the hostility

of a work environment is fact specific and is to be determined by the trier of fact. It is not the

appropriate topic for summary judgment. “When the workplace is permeated with discriminatory

intimidation, ridicule, and insult that is sufficiently severe and pervasive to alter the conditions of

the victim’s employment and create an abusive working environment, Title VII is violated.” Harris

v. Forklift Systems, Inc., 510 U.S. 17, 21 (1993). Further, “Certainly Title VII bars conduct that

would seriously affect a reasonable person's psychological well-being, but the statute is not

limited to such conduct (emphasis added.) Defendant Tyson may not be offended by kissy noises

and physical assaults, as clearly it is not since it chooses to retrain rather than discipline its

employees, but Ms. Adnriano was offended. “So long as the environment would reasonably be

perceived, and is perceived, as hostile or abusive,” Id. citing Meritor Savings Bank, FSB v. Vinson,

477 U.S. 57, 106 S.Ct. 2399, 91 L.Ed.2d 49 (1986). The Court goes further in Harris to state that

no mathematically precise test can be used, and instead whether a work environment is hostile or

abusive can only be determined by looking at all the circumstances. Id. The hostility of a work

environment is fact specific and is to be determined by the trier of fact, i.e. that it is not the

appropriate topic for summary judgment.

       This Court’s analysis should stop there as this is a matter for a trier of fact to determine.

However, even if the Court determines further demonstration is necessary, that being 1) that



                                            Page 18 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 18 of 25 PageID #: 380
Plaintiff is a member of a protected class, 2) that she is subject to unwelcome harassment, 3) the

harassment was based on her status as a member of a protected class, 4) the harassment affected a

term, condition, or privilege of employment, and 5) there is some basis for liability on the part of

the employer, summary judgment is still inappropriate (emphasis added). Ellsworth v. Pot Luck

Enters., 624 F.Supp.2d868, 875-876 (M.D. Tenn. 2009); Gallagher v. C.H. Robinson Worldwide,

Inc., 567 F.3d 263, 270 (6th Cir. 2009). As set out above, Plaintiff was subjected to being “hit on”

by Gashi with a clear indication from him he wanted sexual relations from her. Despite her

repeated reporting to her supervisor nothing was done to correct his efforts and motives. Leaving

Gashi unchecked ultimately led to Plaintiff being physically assaulted when Gashi chased her

around her desk and grabbed her hand and arm dragging her closer to his body.

        In determining whether an employer is liable for its supervisor’s actions, the Court must

view the facts in a light most favorable to the Plaintiff and determine 1) whether the supervisor’s

harassing actions were foreseeable or fell within the scope of his employment and 2) even if they

were, whether the employer responded adequately and effectively to negate liability. Pierce v.

Commonwealth Life Ins. Co., 40 F.3d 796, 803 (6th Cir. 1994). Again, there is an enormous

genuine issue of material fact as to whether the Defendant knew of Gashi’s predatory propensities.

This Court is not left with just Plaintiff’s repeated reports to her supervisor of his conduct, but has

the testimony of other female employees, including HR members, of a history of prior complaints.

Of important note is the fact only after his physical assault of Plaintiff, Gashi is merely retrained

and allowed to keep his job.       There is no evidence that Defendant undertook any serious

investigation of the other women’s complaints who were subjected to his harassment after

Plaintiff’s assault.

        IV.     Defendant, Tyson is Not Shielded from Liability Under the Faragher/Ellerth
                Defense or any Other.

                                            Page 19 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 19 of 25 PageID #: 381
       Initially, it should be noted that the Faragher/Ellerth Defense is a matter to be determined

by a trier of fact as to liability for damages suffered by Plaintiff. “When no tangible employment

action is taken, a defending employer may raise an affirmative defense to liability or damages,

subject to proof by a preponderance of the evidence. See Fed. Rule Civ. Proc. 8(c). The defense

comprises two necessary elements: (a) that the employer exercised reasonable care to prevent and

correct promptly any sexually harassing behavior, and (b) that the plaintiff employee unreasonably

failed to take advantage of any preventive or corrective opportunities provided by the employer or

to avoid harm otherwise.” Faragher v. City of Boca Raton, 524 U.S. 775, 778. The preponderance

of the evidence standard alone indicates that a trier of fact should determine whether this defense

exists. Therefore, Defendant’s assertion of this defense in a motion for summary judgment

inappropriate. Defendant’s HR was aware of multiple instances of harassment, and no disciplinary

action was taken. Therefore, Gashi’s actions against Plaintiff were foreseeable and no reasonable

effective actions were taken to prevent or correct the matter.

       The Defendant again tries to argue that the Court in Gallagher addresses this issue. The

Defendant, however, fails to include that the Court has stated “[A}n effective harassment should

at least: (1) require supervisors to report incidents of sexual harassment; (2) permit both informal

and formal complaints of harassment to be made; (3) provide a mechanism for bypassing a

harassing supervisor when making a complaint; and (4) provide for training regarding the policy.”

Thornton v. Federal Express Corp., 530 F.3d 451, 456 (6th Cir.2008), (quoting Clark v. United

Parcel Service, Inc., 400 F.3d at 341, 349–50 (6th Cir.2005)). Plaintiff followed the policy and

reported to her direct supervisor. Her supervisor, however, buried these complaints and pressured

Plaintiff not to report these incidents to HR. Defendant violated this standard when she did not

report Gashi’s indiscretions to upper management and instead covered for them. This is the same



                                           Page 20 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 20 of 25 PageID #: 382
supervisor that to disciplinary action against Plaintiff after her multiple reports and her burying of

Plaintiff’s complaints became known to HR and upper management.

          V.     Plaintiff experienced Retaliation for her Complaints of Sexual Harassment.

       In retaliation cases, the 6th Circuit has held that examples of materially adverse employment

action include: termination, demotion, decrease in wage or salary, a less distinguished title,

material loss of benefits, significantly diminished material responsibilities or other indices that

might be unique to a particular situation. Kocsis v. Multi-Care Mgmt., Inc., 97 F.3d 876 (6th Cir.

1996). This is a clarification of the third element of the necessary elements a plaintiff must prove

in a retaliatory discharge matter. These elements are as follows:

                 1. That the plaintiff engaged in an activity protected by statute;

                 2. That the defendant had knowledge of the plaintiff’s exercise of protected

                    activity;

                 3. That the defendant after that took an employment action adverse to the plaintiff;

                    and,

                 4. That a causal connection existed between the protected activity and the adverse

                    employment action. Ford v. General Motors Corp., 305 F.3d 545, 552-53(6th

                    Cir. 2002).

       Plaintiff has established in her complaint and in her facts section of this memo that she was

exercising her rights under Title VII by making complaints about the harassment she suffered at

the hands of Gashi. Plaintiff has further established that Defendant had knowledge of Gashi’s

harassment. Instead of disciplining Gashi, Tyson retaliated against Ms. Andriano. Ms. Andriano

had no choice but to resign from Tyson.

               a) Plaintiff has identified an adverse employment action.


                                            Page 21 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 21 of 25 PageID #: 383
         Defendant attempts to assert that Andriano’s retaliation existed in the form of

embroidered coats and exclusions from email chains. The retaliation Andriano experienced is

much more profound, however. Tyson’s “chain of command” is critical in order to understand

the retaliation Ms. Andriano experience.

         Andriano made numerous attempts to exercise her rights under Title VII, and each time

she did, she believed her job was on the line. In reporting the harassment to Thomas, rather than

HR, Andriano was following Tyson’s formal “chain of command” policy. An email from Thomas

to her staff, although purportedly not referring to sexual harassment complaints, provides insight

into this dysfunctional hierarchy. Thomas’s email to her subordinates reads: “Ladies…Before

sending out e-mails to plant upper management, I ask first that you e-mail myself or speak to me.

If at that time I feel the upper management needs to be aware of the issue requested, et cetera, I

will speak directly to them or forward the e-mail on. Since I am the nurse manager, every e-mail

that is sent out comes back to me as well as any repercussions. When these e-mails go out, I am

the one who has to answer as to why my nurses are sending out these e-mails to upper

management and not following the chain of command (emphasis added). (Exhibit 13, Andriano

0073-74.) Logic dictates that even though this email pertains to some issue other than harassment,

Thomas expected her subordinates to come to her first, at which time Thomas would decide

whether upper management needs to be aware of the issues. This email also suggests Thomas

herself is afraid of “repercussions” from upper management. This email, regardless of its subject

matter, correlates perfectly with what Thomas told Andriano repeatedly regarding Gashi: “follow

the chain of command and not go to HR” with problems. Andriano believed that if she wanted

to keep her job, she should not go to HR to report Gashi’s behavior. (Pltf. Dep. At 67:14-23; 70:

4-11.)



                                           Page 22 of 25

  Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 22 of 25 PageID #: 384
       Even though Andriano followed Tyson’s policy, of reporting to whom she wishes, as well

as followed Tyson’s “chain of command,” reporting Gashi’s behavior to Thomas, Gashi’s

behavior continued. (Carroll Dep. at 64: 15-25.) Since it was Tyson’s “norm” to tolerate

inappropriate male behavior in the workplace, “Tyson would discipline management, but not an

operator [like Gashi].” (Carroll Aff. ¶ 16.) Carroll did not report the Gashi incidents to HR either,

but for a different reason. Carroll thought it futile to report the incident to HR because “it seemed

more often they [employees’ concerns] were swept under the rug than dealt with. (Carroll Dep.

at 48: 21-25). Since Tyson ignored women’s issues in the workplace, it is no surprise that Tyson

ignored Gashi’s inappropriate behavior. (Carroll Aff. at 64: 15-19.)

       To Cooper, the chain of command was circular in nature because, “…at the end of the

whole story, HR is going to be the person who is going to do the investigation…but no matter

who they come to, the investigation starts and ends with HR” (emphasis added). (Cooper Dep.

At 28: 11-22.) Ironically, even calls to the Call Tyson First helpline went to HR rather than a

neutral third party. No wonder Andriano felt scared of losing her job. She had exhausted both

Thomas’s and Cooper’s chains of command. Neither led her anywhere. She had only the Call

Tyson First Helpline to turn. Unfortunately, Tyson routed all of the helpline calls, not to a neutral

third party, but back to the plant, in this case, Cooper, who found Andriano to be only “somewhat

believable.” Tyson’s system for reporting problems of any kind, even those of a more serious

nature, was dysfunctional at best and left Andriano helpless.

       Everything came to a head in the conference between Ms. Andriano, Thomas, and Cooper

on May 6. Ms. Andriano felt cornered. She believed Tyson would soon terminate her. (Pltf. Dep.

at 180: 9-10.) She tried to express herself, to say that she did not felt like her supervisor was “doing

enough for her, or that she wasn’t there for her, and that her supervisor did not help with her [sexual



                                            Page 23 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 23 of 25 PageID #: 385
harassment] complaint.” (Pltf. Dep. at 167:11-14; Cooper Dep. at 52:13-53:2, 64:1-5; Cooper Dep.

at 56:18-20.) But, Cooper and Thomas railroaded her. (Pltf. Dep. at 165: 22-25.) They asked her

about her marriage, about her depression, about her personal life. (Pltf. Dep. at 159:1-5.) They

scolded her for using the radio, and for locking the door when she felt unsafe. (Pltf. Dep. at 161:

12-22; Pltf. Dep. at 96: 4-20.) “They said, if you leave, that means you quit. Are you quitting?”

(Pltf. Dep. at 159: 5-7.) “She wanted to go home. She wanted to go home. She asked to go home.”

(Cooper Dep. at 63: 8-10.) She wanted to call the Call Tyson First Helpline, but she was not

permitted. Cooper kept her in the room. Cooper explained even if she called the helpline, the call

would filter back to plant, back to HR, back to Cooper. (Cooper Dep at 57: 11-16; Cooper Dep. at

58: 1-4.) Denton told her, however, “No, you’re not [going to call the helpline]. (Pltf. Dep. at 159:

13-16.) After the meeting, Cooper requested that both Thomas and Plaintiff provide written

statements. (Cooper Dep. at 64:5-9; Pltf. Dep. at 169:4-10.) Cooper demanded Ms. Andriano’s

statement. Ms. Andriano felt threatened. (Pltf. Dep. at 173: 14-20.) All of this occurred within

weeks, if not days, of Ms. Andriano complaints against Tyson.

            b) Any further disputed issues require a trier of fact to determine liability and
                damages.

       The disputed issues are whether Defendant took employment action adverse to Plaintiff in

the form of retaliatory discharge and whether a causal connection existed between the protected

activity and the adverse employment action. Facts exist sufficient to require a trier of fact to

determine liability and damages. With that said, Plaintiff vehemently asserts that she received

adverse employment action in the form of retaliatory discharge.

                                     IV.     CONCLUSION

       As shown above there clearly exist genuine issues of material fact warranting denial of

Defendant’s motion for summary judgment.

                                           Page 24 of 25

   Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 24 of 25 PageID #: 386
                                                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day served, via the Middle District ECF filing system, a
true and correct copy of the foregoing pleading upon counsel for the parties, as follows:

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                                          Page 25 of 25

  Case 3:15-cv-00863 Document 37 Filed 03/01/17 Page 25 of 25 PageID #: 387
